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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 7

JEVIC HOLDING CORP., et al., 1                                         Case No. 08-11006 (BLS)

         Debtors.


OFFICIAL COMMITTEE OF UNSECURED
CREDITORS, on behalf of the bankruptcy
estates of JEVIC HOLDING CORP., et al.,

         Plaintiff,

             v.                                                        Adv. Pro. No. 08-51903 (BLS)

THE CIT GROUP/BUSINESS CREDIT,
INC., in its capacity as Agent, et al.,

          Defendants.


                  OPENING BRIEF IN SUPPORT OF MOTION TO SUBSTITUTE
                    CHAPTER 7 TRUSTEE AS REAL PARTY IN INTEREST

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                                                               George L. Miller, Chapter 7 Trustee
Dated: April 12, 2019

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 The Debtors in these cases, along with the last four digits of the federal tax identification number for each of the
Debtors, are Jevic Holding Corp. (8738), Creek Road Properties, LLC (9874) and Jevic Transportation, Inc (3402).
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                                PRELIMINARY STATEMENT


       On December 31, 2008, the Official Committee of Unsecured Creditors (the

“Committee”) of the bankruptcy estates of Jevic Holding Corp., Jevic Transportation Inc., and

Creek Road Properties LLC (collectively, the “Debtors”) timely commenced the above-

captioned adversary proceeding (the “Action”), on behalf of the Debtors, against CIT

Group/Business Credit, Inc., in its capacity as Agent (“CIT”), which was later amended to add

Sun Capital Partners IV, LP, Sun Capital Partners Management IV, LLC, and Sun Capital

Partners, Inc. (collectively, “Sun” and, together with CIT, “Defendants”) as defendants.

Following CIT’s unsuccessful motion to dismiss, the parties reached a settlement of the claims

and causes of action asserted against them by the Committee in the operative Second Amended

Complaint and Objection to Claims [D.I. 43] (the “Complaint”). This Court approved the

settlement on December 4, 2012, but after nearly five (5) years of appeals, culminating with the

United States Supreme Court’s March 22, 2017 decision, the Action was remanded to this Court.

On May 22, 2018, following a failed second attempt to approve a settlement, the Court converted

the Debtors’ bankruptcy cases from chapter 11 to chapter 7 proceedings. Thereafter, George L.

Miller, was appointed as the chapter 7 trustee (the “Trustee”) of the Debtors’ bankruptcy estates.

       As a result of the conversion of the Debtors’ bankruptcy cases to proceedings under

chapter 7 or title 11 of the United States Code (the “Bankruptcy Code”), the Committee—which

de jure has been dissolved—is no longer able to prosecute the Complaint. Nothing, however,

impairs or abridges the Trustee’s ability, right, or interest in prosecuting the Complaint. In fact,

as the claims alleged against Defendants represent the last material source of recovery for the

creditors of the Debtors’ estates, the Trustee’s continued and uninterrupted prosecution of the
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Complaint is critical. Accordingly, by the Motion, 1 the Trustee requests that he be substituted

for the Committee as the proper party plaintiff in the Action.

          STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDING

        On December 31, 2008, the Committee commenced this Action by filing a complaint

against CIT [D.I. 1]. On January 30, 2009, CIT moved to dismiss the complaint [D.I. 5]. On

June 30, 2010, the Committee amended the complaint to add the Sun entities as defendants [D.I.

17].   Sun answered the amended complaint on September 27, 2010 [D.I. 21].                       Following

supplemental briefing on CIT’s motion to dismiss, on September 15, 2011, the Court issued an

Opinion and Order granting in part and denying in part the motion [D.I. 40, 41]. Thereafter, on

October 7, 2011, the Committee filed the operative second amended Complaint [D.I. 43], which

Sun and CIT answered on November 4, 2011 [D.I. 44, 45]. CIT also asserted a counterclaim via

its answer, which the Committee answered on November 23, 2011 [D.I. 47].

        Following discovery, on June 27, 2012, the Debtors, the Committee, and Defendants filed

a joint motion to approve a settlement of the Action [D.I. 67]. On December 4, 2012, the Court

entered an Order approving the settlement [D.I. 78], which was timely appealed by certain

former employees of the Debtors [D.I. 79]. In accordance with the Supreme Court’s March 22,

2017 decision, on May 9, 2017, the Third Circuit issued a Judgment Order remanding the matter

to the District Court with direction to vacate this Court’s judgment and remand the matter back

to this Court for further proceedings [D.I. 92].

        After the matter was remanded to this Court, the Debtors, the Committee, and Defendants

filed a second joint motion to approve a settlement of the Action [D.I. 99]. The Court denied the

motion and, on May 22, 2018, the Court converted the Debtors’ bankruptcy cases from chapter


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  All capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion to
Substitute Chapter 7 Trustee as Real Party in Interest filed contemporaneously herewith.

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11 to chapter 7 proceedings [Case No. 08-11006, at D.I. 1805]. The Trustee was appointed on

June 5, 2018 [Case No. 08-11006, at D.I. 1807].

                              SUMMARY OF THE ARGUMENT

       Pursuant to Rule 25(c) of the Federal Rules of Civil Procedure (the “Federal Rules”),

made applicable herein by Rule 7025 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), the Trustee should be substituted for the Committee as the real party in

interest to assert and prosecute the claims and causes of action against Defendants in the

Complaint, as those claims and causes of action were brought on behalf of the Debtors and

constitute property of the Debtors’ bankruptcy estates.

                             CONCISE STATEMENT OF FACTS

       The Committee’s Complaint asserts thirty-four (34) causes of action against Defendants,

primarily seeking avoidance of transfers pursuant to Sections 544(b), 547, 548, and 550 of the

Bankruptcy Code and corollary state law, as well as equitable subordination under Section 510

of the Bankruptcy Code. See generally D.I. 43. By the Complaint, the Committee also objects

to the proofs of claim filed by Sun. Id. During the pendency of the Action, the Court converted

the Debtors’ bankruptcy cases from chapter 11 to chapter 7 proceedings. See Case No. 08-

11006, at D.I. 1805. The Trustee was appointed on June 5, 2018. See Case No. 08-11006, at

D.I. 1807.

                                          ARGUMENT

       Federal Rule 25(c) and the settled case law of this Circuit support the substitution of the

Trustee for the Committee as the real party in interest to continue the prosecution of the

Complaint. Federal Rule 25(c), made applicable herein by Bankruptcy Rule 7025, provides that

“[i]f an interest is transferred, the action may be continued by or against the original party unless



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the court, on motion, orders the transferee to be substituted in the action or joined with the

original party.” Fed. R. Civ. P. 25(c).

       A motion to substitute under Federal Rule 25(c) is addressed to the sound discretion of

the court. Luxliner P.L. Export, Co. v. RDI/Luxliner, Inc., 13 F.3d 69, 72 (3d Cir. 1993).

“[S]ubstitution under Rule 25(c) does not ordinarily alter the substantive rights of parties but is

merely a procedural device designed to facilitate the conduct of a case.” Id. at 71-72. Further,

“Rule 25(c) . . . is designed to allow the action to continue unabated when an interest in the

lawsuit changes hands.” Pacamor Bearings v. Minebea Co., 892 F. Supp. 347, 360 (D.N.H.

1995) (citation omitted).

       It is well settled that upon conversion of a bankruptcy case from chapter 11 to chapter 7,

and the concomitant appointment of a chapter 7 trustee, the trustee steps into the shoes of the

debtor with respect to all rights, responsibilities, and liabilities. In re Rachles, Inc., 131 B.R. 782

(Bankr. D.N.J. 1991). In Rachles, the court thus permitted the chapter 7 trustee to be substituted

as plaintiff in an adversary proceeding in the place of the creditors’ committee which had filed

the adversary proceeding on behalf of the debtor when the case was still proceeding under

chapter 11. Id. at 785 (holding that “it is entirely appropriate” to substitute the trustee for the

committee in litigation commenced by the committee on behalf of the debtor before conversion).

As here, the claims brought by the committee in Rachles primarily sought avoidance of

fraudulent transfers. Fraudulent transfer claims constitute property of the Debtors’ estate which

the Trustee has standing to prosecute. See, e.g., Claridge Assocs., LLC v. Schepis (In re Pursuit

Capital Mgmt., LLC), 595 B.R. 631, 656 (Bankr. D. Del. Nov. 2018) (“In both §§ 544 and 548,

the power and duty to bring fraudulent transfer actions is vested in a trustee.”).




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       Substitution is warranted here because the Trustee’s interests—notable among them,

recovering assets for the Debtors’ estates—are perfectly aligned with those the Committee had

when it “challenged” Defendants’ claims and liens and sought to avoid transfers made to them.

Accordingly, the Trustee succeeds to the rights and positions of the Committee on behalf of the

Debtors with respect to the Action now that these cases are being administered under chapter 7.

As the Trustee is the real party in interest to prosecute this Action, granting the substitution of

the Trustee for the Committee as plaintiff will facilitate the orderly administration of justice by

allowing the Action to be decided on the merits. Moreover, there will be no prejudice to

Defendants occasioned by the substitution.

                                        CONCLUSION

       For all of the foregoing reasons, the Trustee respectfully requests that this Court enter an

Order: (i) substituting the Trustee for the Committee as the real party in interest to assert the

claims and causes of action set forth in the Complaint against Defendant; and (ii) granting such

other and further relief as the Court deems just a proper. A proposed form of Order is submitted

herewith.

Dated: April 12, 2019                                BENESCH, FRIEDLANDER, COPLAN
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